    2:18-cv-00418-PMD           Date Filed 02/13/18          Entry Number 1-1       Page 1 of 10




STATE OF SOUTH CAROLINA                               IN THE COURT OF COMMON PLEAS

COUNTY OF CHARLESTON                                  NINTH JUDICIAL CIRCUIT

Charles Riley,                                        CaseNo. t-C %O2
                                                                  3
                                        Plaintiff,
                       vs.                                           SUMMON            :




Hunter Warfield, Inc. and Experian                                                             :
                                                                •                                                •-

Information Solutions, Inc.,
                                  Defendants.
                                                                           V


                                                                                                                 r%)
                                                                                                                  —



       TO:     THE DEFENDANTS ABOVE NAMED:                                      V




       YOU ARE HEREBY SUMMONED and required to answer the Complaint in this action,
a copy of which is hereby served upon you and to serve a copy of your Answer to th said
Complaint on the subsciber; David A. Maxfield, Esquirc, at his office at5217 N. Trênholm Rd.,

Ste. B, Columbia, South Carolina 29206, within thirty (30) days after service hereof, ‘exclusive of
the date of such service; and if you fail to answer the Complaint within the time aforesaid, the
Plaintiff in this action will apply to the court for the relief demanded in thç Complaint. If you                      V




fail to appear and defend, judgment by default will be rendered against you for the relief

demanded in the Cémplaint.          V
                                                         V                                 :             V


                                                                                                             V




                                            V

                                                By:                                            I

                                                        David A. Maxtield, Esq. SC Bar 7163
                                                        DAVE MAXFIELD, ATTORNEY, LLC
                                                        5217 N. Trenhoim Rd.Ste. B
                                                        Columbia, South Carolina 29206
                                                        (803) 509-6800

DATED: December 28, 2017
Columbia, South Carolina




                                                                                                   II;
      2:18-cv-00418-PMD            Date Filed 02/13/18          Entry Number 1-1              Page 2 of 10




STATE OF SOUTH CAROLINA                      IN THE COURT OF COMMON PLEAS

COUNTY OF CHARLESTON                              NINTH JUDICIAL CERCUIT


CharlesRiley,                                                  LC? tO iS
                                                        C/A#
                                     Plaintiff
                                                                 COMPLAINT
                                                                                        <        C.         c
vs.                                                                                     i                   c.....
                                                                                         ‘‘     ‘

                                                               (Jury Trial Requested)
Hunter Warfield, Inc., and Experian                                                                   fi.




Information Solutions, Inc.,,

                                  Defendants




           Plaintiff, complaining of the Defendants above-named, would show this Court:


                                             JURISDICTION
      1. The State of Residence of Plaintiff is the State of South Carolina.
      2. The Defendant Hunter Warfield, Inc., incorporated under the laws of the State of Maiyland,
           with its principal place of business, “nerve center” and headquarters in the State of Florida.

      3. Defendant Experian Information Solutions, Inc. (“Experian”) is a foreign corporation with its
           principal place of business, “nerve center” and headquarters in the State of Texas.
      4. Defendants transact substantial business (including debt collection) in the State of South
           CaroHn                                  fl




      5.   This Court has jurisdiction over the parties and subject matter of this action, and venue is
           proper based on the non-residence of the Defendant.
2:18-cv-00418-PMD          Date Filed 02/13/18        Entry Number 1-1        Page 3 of 10




                                  FACTUAL ALLEGATIONS

6. Plaintiff previously rented an apartment at a complex owned by Moore County Living,

   LLC.

7. A dispute thereafter arose between Plaintiff and Moore County living concerning Plaintiff’s

   assertions of breaches of landlord responsibilities and state law.

8. Upon termination ofthe lease, Moore County Living asserted that Plaintiff oweda debt,

   which Plaintiff disputed.

9. Plaintiffhad no liability for such sums, and advised Moore County Living that he disputed

   the amount and did not intend to pay it.

10. Despite Plaintiff’s dispute and upon information and belief, Moore County Living thereafter

   retained the Defendant Hunter Warfield to collect the alleged debt.

11. In or around 2017 Defendant began calling PlaintiWs phone. In the multiple calls placed,

   Defendant:

       a.   failed to identify whom he was calling for;

       b. That he was calling on behalf of Hunter Warfield;

       c. That he was a debt collector; or that

       d. his call was an attempt to collect a debt

12. Additionally, in numerous telephone calls, said representative ofthe Defendant Hunter

    WartIeld repeatedly, and falsely:

        a. characterized the matter as “urgent” or “extremely important;”

        b. made quasi-legal statements such as infonnation being on “the record”

       c. referred to an important “decision” that had to be made which, without Plaintiff’s

            input, would be made, presumably against Plaintiff’s interests.
2:18-cv-00418-PMD                Date Filed 02/13/18   Entry Number 1-1         Page 4 of 10




13. Plaintiff, upon being contacted by Hunter Warfield requested validation of the debt; further,

   both directly and via complaints to the Attorney Generals ofNorth Carolina and Florida, and

   the CFPB, Hunter Warfield was advised that Plaintiff disputed the debt.

14. Hunter Warfield continued collection attempts,.including obtaining Plaintiff’s credit file

   from Defendant Experian.

15. Thereafter, Hunter Warfield reported negative tradelines on Plaintiff’s Expenan and Equifax

   credit reports.

16. In its reporting, Hunter Warfield omitted any mention of Plaintiff’s dispute.

17. In July of 2017 Plaintiff disputed Hunter Warfield’s negative reporting to Equil’ax and

    Expenian, whicF disputes were transmitted to Hunter Warfield by the credit reporting

    agencies.

18. Upon information and belief following reinvestigation, Equifax removed the account from

    Plaintiff’s credit report.

19. On or about September 3,2017, Defendant Experian removed the tradeline from Plaintiff’s

    file.

20. In or around late September Plaintiff, believing he was finally cleared to move into another

    apartment, applied for residency at a local apartment complex.

21. A few days after his application, he was shocked to learn that he had been denied ,ased on

    his Experian credit report.

22. Plaintiff again obtained his report and learned that Defendant Experian had unlawfully

    reinserted the disputed, negative Hunter Warfield tradeline into his report, resulting in

    lowering his credit score by over 100 points, and making his rental impossible.
 2:18-cv-00418-PMD              Date Filed 02/13/18       Entry Number 1-1       Page 5 of 10




23. As a direct and proximate result of Defendants’ wrongful acts, Plaintiff has been damaged.

   He remains unable to find suitable housing, hasexpended significant time to have his report

   corrected, has suffered extreme stress in the interim, and such other damages as may be

    shown at trial.                             -




                                 FOR FIRST CAUSE OF ACTION
                                   AS TO HUNTER WARFIELD
                                        (Violation of FDCPA)
24. The allegationscontained hereinabove are repeated as if fully alleged verbatim, to the
    extent not inconsistent herewith.-
25. The the transaction is a consumer transaction and the Defendant acted as debt collector at

    all times relevant hereto.
26. The Defendant regularly attempt(s) to collect debts alleged to be due another.1
27. Defendant violated the Fair Debt Collection Practices Act in these particulars,and in such
    other particulars as shown above and below, and as may be shown at trial:

            a. Misrepresenting the character, amount and status of the debt in violatiofri of
                1692e;

            b. Knowingly failing to communicate that Plaintiff disputed the debt in viplation of
                1 692e(8);
            c. Calling Plaintiff repreatedly, in violation of 1692d;
            d. Failing to disclose identity of caller and fact that the communication concerned

                debt collection, in violation of-1692d;
        -   e. Implying that the communications concerned a legal or official -matter, in
                violation fo 1 692e;                           -   -                    -,




            f. Collecting or attempting to collect unatuhorized and/or disputed sums, in
                violation of 1692f;

            g. Failing ionote a disputed debt as “disputed” to credit reporting agencies;
 2:18-cv-00418-PMD              Date Filed 02/13/18   Entry Number 1-1         Page 6 of 10




28. Plaintiff should be granted judgment against Defendant for actual damagesand such
   penalties and attorney fees as authorized by statute, and such other relief as is just and

   proper.


                               FOR A SECOND CAUSE OF ACTION
                                  AS TO HUNTER WARFIELD

                                  (Violation of SC Code §37-5-108)
29. The above allegations are repeated and realleged herein as if set forth verbatim, to the
   extent not inconsistent with the allegations of this cause of action.
30. The transaction or alleged transaction described above is a consumer transaction.
31. Upon information and belief, the Defendant{s} engaged in unconscionable conduct in

   the following particulars and such others to be proven at trial:
       a. Defendant communicated at time or place otherwise known or which should be
             known to be inconvenient to the Plaintiff{s).

       .b. Defendant used fraudulent, deceptive, or misleading representations, including
             representations about the character, amount, or legal status of any debt.

       c. Defendant communicated a debt to a credit reporting agency that it knew or
             should have known was disputed, without communicating the fact that Plaintiff
             disputed the debt.

32. Plaintiff{s} shoulde granted judgment against Defendánt{s} for acfuaL damags as well

    as such penalties and attorney fees as are authorized by statute, and such other relief as is
    just and proper.



                                FOR A THIRD CAUSE OF ACTION
                           •       AS TO HUNTER WARFIELD

                       •              (Unfair Trade PracticCa)
33. The allegations contained hereinabove are repeated as if fully alleged verbatim, to the
 2:18-cv-00418-PMD          Date Filed 02/13/18          Entry Number 1-1      Page 7 of 10




    extent not inconsistent with this cause of action.

34. The activities of the Defendant constitute “trade or commerce” as defined by South
    Carolina Code Section 39-5-10, et.sep., (as amended).
35. The actions of the Defendant, above-described, constitute unfair and deceptive acts and
    practices in the conduct of trade and commerce, as prohibited by the South Carolina
    Unfair Trade Practices Act,, 39-5-10 et.seg., and are willful violations thereof.
.36. The actions of the Defendant have a real and substantial potential for repetition and affect
    the public interest.
37. The Plaintiffhas suffered an ascertainable loss due to the unlawful actions of the
    Defendant, entitling Plaintiff to recover actual damages in an amount to be proven at trial,
    treble said actual damages, and an award of attorney’s fees and costs.


                            FOR A FOURTH CAUSE OF ACTION
                                AS TO BUNTER WARFIELD

                                     (Violations of TCPA)
38. The allegations contained hereinabove are repeated as if fully alleged herein verbatim, to
    the extent not inconsistent with this cause of action.
39. Defendant’s telephonic activities are governed, in part, by the Telephone Consumer

    Protection Act, 47 USC 227; 47 CFR 64.1200;
40. Defendant had no onsent to contact Plaintiff upon via menas proscribed by the TCPA;

    any consent previously givent to Bell, Defendant’s alleged principal or successor, was

    revoked by Plaintiff.
 41. Plaintiff is informed that Defendant continued to contactPlaintiff on his cellular

    teLephone, with an automated dialing system or otherwise.           .          .




 42. Plaintiff is informed and believes that Defendant committed the above violations multiple

    times, and that said violations were willful.
 43. Plaintiff is informed and believes that he may recover $1,50000perviolation, plus such
2:18-cv-00418-PMD            Date Filed 02/13/18        Entry Number 1-1        Page 8 of 10




   other damages, penalties, attorney’s fees and costs as allowed by law.
44. Plaintiff is fuxther entitled to, and requests, injunctive relief requiring Defendant to cease
   and desist any further calling activity, and to award a penalty of$ 1,500.00 per such
    violation, plus fees, costs, and such other relief as is just an4 proper.
                            FOR A FIFTH CAUSE OF ACTION
                                 AS TO ALL DEFENDANTS
                                      (Violation of FCHA)
45. Plaintiff realleges and incorporates the allegations contained elsewhere herein to the
    extent not inconsistent with the allegations of this Cause of Action.
46, Defendant Hunter Warfield is a user and furnisher of information as defined in the Fair
    Credit Reporting Act, as amended.
47. Defendant Experian is a credit reporting agency.

48. Defendant Hunter Wárficld knowingly and wilifuly and/or negligently obtained
    Plaintiff’s credit file with no permissible purpose, in violation of 15 U.S.C. 1681b, and
    1681q, and 1681r, et. seq.               f
49. Defendant Hunter Warfield reported the debt to credit reporting agencies without noting

    that the debt was “disputed” as required by federal law.
50. Defendant Experian included incomplete information in Plaintiff’s file regarding the

    Hunter Warfield tradeline, in violation of 168 le(b), failed to properly reinvestigate in
    violation of 16811, and reinserted previously deleted information without certification of
    accuracy or notice to the consumer in violation of 1681 a(5)(B).
 51. As a direct and proximate result of Defendants’ negligent and willful violations of the
    FCRA, Plaintiff has suffered and continues to suffer actual damages, including economic
     toss, invasion of privacy, emotional distress and interference with normal and usual
    activities, for which Plaintiff seeks damages in an amount to be determined by the jury.
     15 U.S.C. §168ln and 1681o.

 52. Plaintiff further requests attorney fees under 15 U.S.C. §1681o(a).
    2:18-cv-00418-PMD           Date Filed 02/13/18        Entry Number 1-1         Page 9 of 10




                                     PRAYER FOR RELIEF

       WHEREFORE, the prayer of the Plaintiff is for judgment in an amount sufficient to
compensate Plaintiff for actual damages, with punitive damages, statutory damages, such interest
as is allowable by law, costs, attorney’s fees, and such other relief as is just and proper.




                                       DAVE M                ATTORNEY,LLC



                                               DavidJMaxfieId # 7163
                                               5217E. Trenhoim Road, Suite B
                                               Columbia, SC 29206
                                               803-509-6800

December 28, 2017
2:18-cv-00418-PMD        Date Filed 02/13/18     Entry Number 1-1   Page 10 of 10




STATE OF SOUTH CAROLINA                      IN THE COURT OF COMMON PLEAS

COUNTY OF CHARLESTON                         NINTH JUDICIAL CIRCUIT

Charles Riley,

                                Plaintift Case Nó.2018-CP-lO-0023
                   Vs.
                                                 CERTIFICATE OF SERVICE
Hunter Warfield, Inc. and Experian
Information Solutions, Inc.,

                             Defendants.

I, the undersigned employee of Dave Maxfield, Attorney, LLC do hereby swear and

affirm that on the 10th day of January, 2018, I. served the foregoing Summons &

Complaint, by sending a copy of same by U.S. Certified Mail, Restricted Delivery,

Return Receipt Requested to the following:

 Hunter Warfield, Inc.
 do Stephen Sobota.
 4620 Woodland Corporate Blvd.
 Tampa, FL 33614

 Experian Information Solutions, Inc.
 c/oCT Corporation System
 2 Offlce Park Court Suite 103
 Columbia, South Carolina 29223




                                              lBess

 DATED: January 10, 2018
 Columbia, South Carolina
